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                           EXHIBIT 27
                    DECLARATION OF
          FORMER MONEX EMPLOYEE
                   GINGER McNAMEE
 
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